Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 1 of 15




                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                                                                  Case No.: 9:23-CV-80630-DMM

 TIMMIE LEE KNOX, JR.

                 Plaintiff,
 v.

 RIC BRADSHAW, in his capacity as Sheriff
 of Palm Beach County, Florida, and DEPUTY
 SHERIFF DUSTIN SULLIVAN, individually,

                 Defendants.
                                                     /

      DEFENDANTS’ ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT

        Defendants RIC BRADSHAW, individually and in his official capacity as Sheriff of

 Palm Beach County, Florida, and DEPUTY SHERIFF DUSTIN SULLIVAN, individually, by

 and through their undersigned counsel, hereby answer the Plaintiff’s Complaint as follows:

                                              Introduction

        1.       Denied.

                                        Jurisdiction and Venue


        2.       It is admitted that this court has jurisdiction and that venue is proper. It is denied

             that there is liability or that the Plaintiff is entitled to an award of damages.

        3.       It is admitted that this court has jurisdiction and that venue is proper. It is denied

             that there is liability or that the Plaintiff is entitled to an award of damages.

        4.       Admitted that the Sheriff, in his official capacity, received notice pursuant to state

             statute. The remaining allegations are without knowledge and are therefore denied.

             Further, it is denied that there is liability or that the Plaintiff is entitled to an award of
                                                      1
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 2 of 15




             damages.

       5.        Admitted that the Plaintiff is and was an adult at all material times. The

             remaining allegations are without knowledge and are therefore denied. Further it is

             denied that there is liability or that the Plaintiff is entitled to an award of damages.

       6.        Admitted that Ric Bradshaw is the elected Sheriff of Palm Beach County, Florida,

             and as such, is an independently elected constitutional officer and final policymaker

             for the Palm Beach County Sheriff’s Office, in his official capacity. It is denied that

             there is liability or that Plaintiff is entitled to an award of damages.

       7.        Admitted that Defendant Sullivan is employed by the Sheriff of Palm Beach

             County as a sworn certified law enforcement. It is denied that there is liability or that

             the Plaintiff is entitled to an award of damages.

                                             Background Allegations

                                       The Use of Force: A Pattern of Abuse

                 PBSO General Order 500 states that “the most important purpose of law

             enforcement is the protection of human life.”       Admitted only that PBSO’s General

             Order 500 is quoted in part. However, it is denied that there is liability or that the

             Plaintiff is entitled to an award of damages.

                 The Defendants deny that the exhibits contained within the OneDrive Link

             support any of the Plaintiff’s claims or allegations contained in the Complaint and

             that, to the extent they are shown to be authentic, speak for themselves.

       8.        Denied.

       9.        Denied.

       10.       Denied.

                                                    2
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 3 of 15




       11.   Denied.

       12.   Denied.

       13.   Denied.

       14.   Denied.

       15.   Denied.

       16.   Denied.

       17.   Denied.

       18.   Denied.

       19.   Denied.

       20.   Denied.

       21.   Denied.

       22.   Denied.

       23.   Denied.

       24.   Denied as phrased.

       25.   Denied as phrased.

       26.   Denied.

                       Deputy Sullivan: Careless, Confrontational and Reckless

             Denied.

       27.   Denied.

       28.   Denied.

       29.   Denied.

       30.   Denied as phrased.

       31.   Denied as phrased.

                                              3
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 4 of 15




       32.       Denied.

       33.       Denied.

       34.       Admitted only that the official policies of the Palm Beach County Sheriff’s Office

             are in compliance with both federal and state law regarding the use of force.

             Otherwise, the allegations are denied as phrased. Further, it is denied that there is

             liability or that the Plaintiff is entitled to an award of damages.

       35.       Admitted only that the official policies of the Palm Beach County Sheriff’s Office

             are in compliance with both federal and state law regarding the use of force.

             Otherwise, the allegations are denied as phrased. Further, it is denied that there is

             liability or that the Plaintiff is entitled to an award of damages.

       36.       Admitted only that the official policies of the Palm Beach County Sheriff’s Office

             are in compliance with both federal and state law regarding the use of force.

             Otherwise, the allegations are denied as phrased. Further, it is denied that there is

             liability or that the Plaintiff is entitled to an award of damages.

       37.       Admitted only that the official policies of the Palm Beach County Sheriff’s Office

             are in compliance with both federal and state law regarding the use of force.

             Otherwise, the allegations are denied as phrased. Further, it is denied that there is

             liability or that the Plaintiff is entitled to an award of damages.

       38.       Admitted only that the official policies of the Palm Beach County Sheriff’s Office

             are in compliance with both federal and state law regarding the use of force.

             Otherwise, the allegations are denied as phrased. Further, it is denied that there is

             liability or that the Plaintiff is entitled to an award of damages.

       39.       Admitted only that the official policies of the Palm Beach County Sheriff’s Office

                                                    4
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 5 of 15




             are in compliance with both federal and state law regarding the use of electronic

             control devices. Otherwise, the allegations are denied as phrased. Further, it is denied

             that there is liability or that the Plaintiff is entitled to an award of damages.

       40.       Admitted. However, it is denied that there is liability or that the Plaintiff is

             entitled to an award of damages.

       41.       It is admitted that Section VI of the applicable policy addresses the use of

             electronic control devices. It is denied that there is liability or that the Plaintiff is

             entitled to an award of damages and the Defendants otherwise state that the policy is

             in compliance with both federal and state law regarding the use of such devices. The

             remaining allegations are denied.

       42.       It is denied that subsection W of the policy addresses issues contained in this

             paragraph. It is denied that there is liability or that the Plaintiff is entitled to an award

             of damages.

       43.       It is admitted that subsection L of the ECD policy states as has been quoted. It is

             denied that there is liability or that the Plaintiff is entitled to an award of damages.

       44.       It is admitted that the ECD policy states as has been quoted. It is denied that there

             is liability or that the Plaintiff is entitled to an award of damages.

       45.       Denied as phrased.

       46.       Denied as phrased.

                       PBSO’s Pattern of Unjustified Use of ECD’s or Tasering Guns

                 Denied

       47.       Denied.

       48.       Denied.

                                                     5
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 6 of 15




       49.      Denied.

                             The Tasering of TIMMIE: A Tragedy Waiting to Happen

                Denied.

       50.      Without knowledge and therefore denied.

       51.      Without knowledge and therefore denied.

       52.      Denied.

       53.      Denied.

       54.      Denied.

       55.      Denied.

       56.      Denied.

       57.      Denied.

       58.      Denied as phrased.

       59.      Denied as phrased.

       60.      Denied as phrased.

       61.      Denied.

       62.      Denied.

       63.      Denied.

       64.      Admitted that the Sheriff received notice, pursuant to state statute, as to any

             applicable state law claims in his official capacity. The remaining allegations are

             without knowledge and therefore denied.

                      COUNT I: 42 U.S.C. §1983 VIOLATION OF PLAINTIFF’S
                                  CIVIL RIGHTS (SULLIVAN)

       65.      See the Defendants’ previous responses to paragraphs 1 through 64 as if fully set

             forth herein.
                                                  6
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 7 of 15




       66.       Admitted only that Deputy Sullivan was acting in the course and scope of his

             employment on May 7, 2021. However, it is denied that he used excessive force.

             Further, it is denied that there is liability or that the Plaintiff is entitled to an award of

             damages.

       67.       Denied.

       68.       This paragraph appears to be a statement of law rather than fact. Therefore, it is

             denied as phrased. Further, the Defendant states that he did not use excessive force as

             alleged. It is denied that there is liability or that the Plaintiff is entitled to an award of

             damages.

       69.       Denied.

       70.       Denied.

       71.       Denied.

       72.       Denied.

       73.       Denied.

       74.       Denied.

       75.       Denied.

                 Wherefore clause is denied.

                COUNT II: 42 U.S.C. §1983 DEPRIVATION OF PLAINTIFF’S
                             CIVIL RIGHTS (BRADSHAW)

       76.       See the Defendants’ previous responses to paragraphs 1 through 64 as if fully set

             forth herein.

       77.       It appears that the paragraph is a statement of law and not fact. Therefore, it is

             denied as phrased. Further, it is denied that there is liability or that the Plaintiff is

             entitled to an award of damages.
                                                     7
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 8 of 15




       78.       It appears that the paragraph is a statement of law and not fact. Therefore, it is

             denied as phrased. Further, it is denied that there is liability or that the Plaintiff is

             entitled to an award of damages.

       79.       It appears that the paragraph is a statement of law and not fact. Therefore, it is

             denied as phrased. Further, it is denied that there is liability or that the Plaintiff is

             entitled to an award of damages.

       80.       Denied.

       81.       Denied.

       82.       Denied.

       83.       Denied.

       84.       Denied.

       85.       Denied.

       86.       Denied.

       87.       Denied.

       88.       Denied.

       89.       Denied.

       90.       Denied.

       91.       Denied.

             Wherefore clause is denied.

                             COUNT III: BATTERY (BRADSHAW)

       92.       See the Defendants’ previous responses to paragraphs 1 through 64 as if fully set

             forth herein.

       93.       Denied.

                                                     8
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 9 of 15




       94.       Admitted that Deputy Sullivan was acting in the course and scope of his

             employment. However, it is denied that he used excessive force or that there is

             liability or that the Plaintiff is entitled to an award of damages.

       95.       Admitted only that Deputy Sullivan’s actions were intentional and further, not in

             bad faith or with malicious purpose or in a manner exhibiting wanton and willful

             disregard of human rights, safety or property, and further, that Deputy Sullivan did

             not use excessive force as alleged. In addition, it is denied that there is liability or

             that the Plaintiff is entitled to an award of damages.

       96.       It appears that this paragraph is a statement of law not fact. Consequently, it is

             denied as phrased. Further, it is denied that there is liability or that the Plaintiff is

             entitled to an award of damages.

       97.       Denied.

             Wherefore clause is denied.

                              COUNT IV: BATTERY (SULLIVAN)

       98.       See the Defendants’ previous responses to paragraphs 1 through 64 as if fully set

             forth herein.

       99.       Denied.

       100.      Admitted that Deputy Sullivan was acting in the course and scope of his

             employment. However, it is denied that he used excessive force. Further, it is denied

             that there is liability or that the Plaintiff is entitled to an award of damages.

       101.      Denied.

       102.      Denied.

             Wherefore clause is denied.

                                                     9
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 10 of 15




        COUNT V: NEGLIGENT USE OF ELECTRONIC CONTROAL DEVICE
                             (BRADSHAW)

        103.   See the Defendants’ previous responses to paragraphs 1 through 64 as if fully set

           forth herein.

        104.   This paragraph appears to be a statement of law not fact. Therefore, it is denied

           as phrased. Further, it is denied that there is liability or that the Plaintiff is entitled to

           an award of damages.

        105.   Denied.

        106.   This paragraph appears to be a statement of law not fact. Therefore, it is denied

           as phrased. Further, it is denied that there is liability or that the Plaintiff is entitled to

           an award of damages.

        107.   Denied.

           Wherefore clause is denied.

               COUNT VI: NEGLIGENT SUPERVISION, RETENTION AND
                            TRAINING (BRADSHAW)

        108.   See the Defendants’ previous responses to paragraphs 1 through 64 as if fully set

           forth herein.

        109.   This paragraph appears to be a statement of law not fact. Therefore, it is denied

           as phrased. Further, it is denied that there is liability or that the Plaintiff is entitled to

           an award of damages.

        110.   Denied.

        111.   Denied.

        112.   Denied.

        113.   Denied.

                                                  10
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 11 of 15




               Wherefore clause is denied.

                                     DEMANDFOR JURY TRIAL

          Defendants demand trial by jury for all issues appropriately tried by a jury.

                                          GENERAL DENIAL

          Any and all allegations to which a specific response has not previously been provided is

  herein denied and strict proof thereof is demanded.

                                               DEFENSES

          1.      As a first and separate defense, the Defendant SHERIFF would assert, regarding the

  negligence claims, that any and all injuries suffered by Plaintiff were caused in whole or in part by

  reason of Plaintiff's negligent and/or wrongful acts and conduct, as a consequence of which the

  Plaintiff is not entitled to recovery or any recovery should be reduced in direct proportion thereto,

  pursuant to the law of comparative fault.

          2.      As a further and separate Defense, the Defendant SHERIFF would assert that all of

  the actions attributable to the Sheriff by which Plaintiff complains in Count VI represent

  discretionary/policy-making functions from which the Defendant is immune from liability for any

  injuries attributable thereto.

          3.      As a further and separate Defense, the Defendants would assert that they are immune

  from liability, or liability is limited for any and all alleged injuries or damages about which Plaintiff

  complains, regarding his state law claims, by virtue and by operation of Florida Statutes

  '768.28(9)(a) and '768.28(5).

          4.      As a further and separate Defense, the Defendants BRADSHAW and SULLIVAN, in

  their individual capacities, would assert that they are immune from any and all liability through

  application of the concept of qualified immunity, as they, at no time, committed any act in

                                                     11
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 12 of 15


  derogation of Plaintiffs= civil rights of which a reasonable police officer would have had knowledge

  or fair warning of, and, at all times, otherwise acted in good faith and otherwise acted with arguable

  probable cause and/or probable cause and/or reasonable suspicion and or arguable reasonable

  suspicion, and with a reasonable amount of force.

         5.      As a further and separate Defense, the Defendants BRADSHAW and SULLIVAN, in

  their individual capacities, would assert that as to the state law claims, to the extent they exist, all

  actions taken, if any, were taken within the course and scope of their employment, and not in bad

  faith or with malicious purpose or in a manner exhibiting wanton and willful disregard of human

  rights, safety or property, and consequently they are immune from suit in their individual capacities

  pursuant to Florida Statutes '768.28(9)(a).

         6.      As a further and separate Defense, the Defendants are not liable for damages in this

  action in that the injury allegedly sustained was sustained during the commission or attempted

  commission of a forcible felony in accordance with F.S. '776.085.

         7.      As a further and separate Defense, the Defendants would assert that any and all

  actions were taken:

                 a.      Without malice;

                 b.      With probable cause;

                 c.      In pursuit of lawful and legal duties;

                 d.      With such force as was reasonable and necessary
                         under the circumstances.

         8.      As a further and separate defense, the Defendants would assert that they are entitled

  to a set off for any collateral sources of compensation for Plaintiff alleged injuries and/or damages.




                                                    12
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 13 of 15




         9.      As a further and separate defense, the Defendants would assert that to the extent force

  was used, the force was justifiable and otherwise lawful pursuant Chapter 776, Florida Statutes.

         10.     As a further and separate Defense, the Defendant SHERIFF would assert that the

  Plaintiff has failed to plead any fact demonstrating that the Defendant SYLLIVAN was negligently

  hired or retained.

         11.     As a further and separate Defense, the Defendants would further state that the

  Defendants preserve any right that the Defendants have to recover attorneys= fees and costs pursuant

  to Federal Statute and appropriate Rules of Civil Procedure including, but not limited to, 42 U.S.C. '

  1988 and Rule 54 of the Federal Rules of Civil Procedure.

         12.     As a further and separate Defense, the Defendant SHERIFF would state that pursuant

  to Florida Statute 768.096, the employer Defendant relies upon the presumption against negligent

  hiring as contained therein. Specifically, Defendant SULLIVAN met all of the requirements under

  state law to be hired as a deputy sheriff.

         13.     As a further and separate Defense, the Defendants would assert that the detention was

  lawful as it was based upon the existence of reasonable suspicion, in accordance with Terry v. Ohio,

  392 U.S. 1 (1968) and Florida Statute 901.151.

         14.     As a further and separate Defense, the Defendants are entitled to a set-off for medical

  bills that were written off by medical providers who examined and/or treated Plaintiff pursuant to the

  Plaintiff=s contracts with health insurance/maintenance organizations, Gobel v. Frohman, 901 So.2d

  830 (Fla. 2005), and/or reduced upon the Plaintiff=s acceptance of payments from Medicare and/or

  Medicaid. Thyssenkrup Elevator Corp. v. Lasky, 868 So.2d 547 (Fla. 4th DCA 2003).




                                                   13
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 14 of 15




          15.     As a further and separate defense, regarding the Plaintiff=s state law battery/excessive

  force claim, the Defendants would assert that the decision to use the taser or dart firing stun gun was

  in response to the Plaintiff=s active physical resistance and otherwise was in full compliance with

  Florida Statute 943.1717, and further, the Defendant SULLIVAN received the necessary training and

  certification pursuant to that statute.

          16.     As a further and separate defense, the Defendant SHERIFF would assert that there is

  no custom, policy, practice or procedure which provided the moving force or cause of any alleged

  violation of Plaintiff's constitutional rights. The Plaintiff bears the burden of proof on this issue.

                                  DEMAND FOR TRIAL BY JURY

          The Defendants, RIC BRADSHAW, individually and in his official capacity as Sheriff of

  Palm Beach County, Florida, and DEPUTY SHERIFF DUSTIN SULLIVAN, individually, hereby

  demand trial by jury on all issues so triable.



  Respectfully submitted,

                                   /s/ Richard A. Giuffreda
                                  RICHARD A. GIUFFREDA, ESQUIRE
                                  Fla. Bar No.: 705233
                                  PURDY, JOLLY, GIUFFREDA, BARRANCO & JISA, P.A.
                                  Attorneys for Defendants
                                  2455 East Sunrise Boulevard, Suite 1216
                                  Fort Lauderdale, Florida 33304
                                  Telephone (954) 462-3200
                                  Telecopier (954) 462-3861
                                  Email: richard@purdylaw.com; jennifer@purdylaw.com




                                                    14
Case 9:23-cv-80630-WM Document 4 Entered on FLSD Docket 04/10/2023 Page 15 of 15




                                  CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that I have electronically filed a copy of the forgoing with the Clerk

  of the Court by using the Florida Courts E-Filing Portal, and provided a copy of same by electronic

  mail to: ROSALYN SIA BAKER-BARNES, ESQUIRE and JOHN SCAROLA, ESQUIRE,

  2139 Palm Beach Lakes Boulevard, West Palm Beach, Florida 33409 [rsb@searcylaw.com, _baker-

  barnesteam@searcylaw.com, jsx@searcylaw.com, _scarolateam@searcylaw.com] this 10th day of

  April, 2023.



                                 s/Richard A. Giuffreda
                                RICHARD A. GIUFFREDA, ESQUIRE
                                Fla. Bar No. 705233
                                PURDY, JOLLY, GIUFFREDA, BARRANCO & JISA, P.A.
                                2455 E. Sunrise Boulevard, Suite 1216
                                Fort Lauderdale, Florida 33304
                                Telephone:     (954) 462-3200
                                Facsimile:     (954) 462-3861
                                e-mail: richard@purdylaw.com, jennifer@purdylaw.com
                                Attorney for Defendants
                                Trial Counsel




                                                  15
